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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA

                                          Alexandria Division



    BMG RIGHTS MANAGEMENT (US)
    LLC,and ROUND HILL MUSICLP,
                                                                Civil No. l:14-cv-1611
                            Plaintiffs,
                                                                Hon. Liam O'Grady
                    V.



     COX COMMUNICATIONS, INC., and
     COXCOM,LLC,

                            Defendants.



                                    MEMORANDUM OPINION


         After an extended litigation battle and a two-week trial, ajury found Defendants Cox
  Communications, Inc. and Coxcom, LLC ("Cox") liable for willful contributory copyright
  infringement. The jury awarded PlaintiffBMG Rights Management ("BMG") $25 million in
  damages, and the Court denied both parties' post-trial motions for relief. (Dkt. No. 794). Now
  pending before the Court are the parties' motions for costs and attorney's fees. Specifically,
  BMG has filed for attorney's fees and costs against Cox, (Dkt. Nos. 819, 827) and Cox, in turn,
  has filed for fees andcosts against Round HillMusic LP ("Round Hill") (Dkt. Nos. 822, 836).

  For the reasons that follow, BMG's motionsare herebyGRANTED IN PART and DENIED IN

  PART. Cox's motions are hereby DENIED.

                                           I. BACKGROUND


          The facts of this case have been set forth in the Court's previous memorandum opinions,

  andwill only be summarized briefly here. See Dkt. Nos. 703, 794. Defendant Cox provides

  hi^-speed internet services to customers nationwide. Plaintiffs BMG and Round Hill are the
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